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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

SONY MUSIC ENTERTAINMENT, e¢ ai,
Plaintiffs,

v.
Case No. 1:18-cv-00950-LO-JFA

COX COMMUNICATIONS, INC., et al,

Defendants.

 

 

MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
THE NUMBER OF SUBSCRIBERS COX TERMINATED FOR VIOLATING ITS
ACCEPTABLE USE POLICY AND PAYMENT TERMS

Plaintiffs submit this memorandum of law in support of their motion to compel discovery
from Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”). As
explained below, Plaintiffs request an order compelling Cox to state the number of subscribers
whose internet service it terminated each month from 2010 through 2014 for (i) violation of its
Acceptable Use Policy, broken out by the provision of the Acceptable Use Policy violated, and (ii)
failure to pay for service. Cox’s right and ability to terminate users, and decision to do so when it
served ifs interests, is directly relevant to Plaintiffs’ claims.

INTRODUCTION

This action is brought by major record companies and music publishers against one of the
nation’s largest internet service providers. Plaintiffs allege that Cox is contributorily and
vicariously liable for infringement of their copyrighted sound recordings and musical
compositions, For years, copyright owners sent Cox notices, made under penalty of perjury,

identifying specific Cox subscribers who were using Cox’s service to infringe. But Cox

 
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deliberately turned a blind eye to that infringement and refused to take reasonable measures to
limit it—even after Cox became aware of particular customers engaging in specific, repeated acts
of infringement. Instead, Cox continued to provide Internet service to specific subscribers it knew
were using its service to infringe.

Plaintiffs move to compel Cox to provide the number of subscribers it terminated for (i)
violations of its Acceptable Use Policy other than copyright infringement, such as spam and
hacking, and (ii) failure to pay for service. Cox claims to take spam, hacking and similar
misconduct seriously because it harms Cox’s network and customers. And it no doubt terminates
subscribers for not paying their bills. By contrast, Cox turned a blind eye to copyright infringement
it knew was occurring on its network and continued to provide Internet service to subscribers it
knew were using it to infringe. A comparison of how Cox responds to violations that potentially
hurt Cox, as opposed to the music industry, is highly probative of Cox’s liability and willfulness.
If Cox regularly terminated customers for spam, hacking or non-payment violations—while
continuing to provide service to and profit from infringing subscribers—that demonstrates Cox’s
right and ability to terminate service and control infringement on its network and willfulness in
turning a blind eye to infringement.

BACKGROUND

Cox maintains an Acceptable Use Policy that prohibits use of its network for certain
purposes, including, inter alia, hacking, spam, and intellectual property infringement. (DTX 140
at $7] 2, 7, 11, attached as Ex. A.) “Violation of any term of this AUP may result in the immediate
suspension or termination of either your access to the Services and/or your Cox account.” Jd, at
1. Cox also maintains a Subscriber Agreement that sets forth the terms and conditions pursuant to

which Cox agrees to provide internet service to subscribers. /d. at 4-10. Among other things, it

 
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requires subscribers “to pay all monthly fees” and provides that “Service may be terminated” if
payment is not received by the due date. fd at 4.

Against that backdrop, Plaintiffs seek discovery concerning Cox’s termination of service
for subscribers who violated its AUP and payment terms. Specifically, Interrogatory No. 6 seeks
the following:

INTERROGATORY NO. 6: Identify the number of Subscribers You terminated

for violation of your Acceptable Use Policy, broken out by the provision of the

Acceptable Use Policy violated. For Subscribers terminated for violating more than

one provision of the Acceptable Use Policy, organize Your response by grouping

the provisions violated (ie, X number of Subscribers terminated violating

provisions A and B; Y number of Subscribers terminated violating provisions C

and D).

Cox initially refused to provide information responsive to this interrogatory on the basis of
relevance, breadth and burden. (Cox’s Responses and Objections to Plaintiffs’ First Set of
Interrogatories, attached as Ex. B.) It later agreed to provide the requested information but only
for copyright infringement. To satisfy that production, Cox relied on a BMG trial exhibit that
includes termination numbers for copyright infringement by month, for January 2010 through
February 2015. (PX 1610 at 24-27, attached as Ex. €.)' Cox still refuses to produce information
concerning any other AUP violations.

Additionally, Interrogatory No. 11 requests the following:

INTERROGATORY NO. 11: State the number of Subscribers, per quarter and

year from January 1, 2008 through December 31, 2014, whose internet service you
terminated for failing to pay amounts owing on the Subscriber’s account.

 

1 Plaintiffs dispute that PX 1610 is confidential given its public use in the public BMG trial. Cox did not object to
the admission of PX 1610 or ask the Court to take steps to protect it from outright public disclosure. Cox has
nevertheless designated it as Highly Confidential—Attorneys’ Eyes Only under the Stipulated Protective Order (ECF
No. 58) and therefore Plaintiffs have filed the accompanying motion to seal, As explained in the seal motion, Plaintiffs
have challenged the designation of this and other BMG trial exhibits pursuant to the provisions of the Stipulated
Protective Order.

 
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Cox refuses to provide any information responsive to this interrogatory on the basis of
relevance, breadth and burden. In subsequent discussions, Cox focused its objection on relevance.
‘The parties are in active discussion concerning their respective discovery requests, have
exchanged numerous letters and discussed these and other issues by phone for many hours,
Though the parties’ discussions are ongoing, the issues set forth herein are ripe for consideration
by the Court.
ARGUMENT

L Termination of subscribers for other AUP violations and failure to pay for service is
relevant to Cox’s right and ability to control infringement and willfulness.

Cox’s handling of subscribers violating its AUP terms and. payment policies is relevant to
Cox’s right and ability to control infringement and willfulness, Vicarious infringement requires a
showing that Cox had the right and ability to supervise the infringing activity. BMG Rights Momt.
(US) LEC K Cox Comme’ns, Inc., 199 F. Supp. 3d 958, 992 (E.D.V.A. 2016), aff'd in part, rev'd
in part, 881 f£.3d 293 (4th Cir. 2018). Infringement is willful if done knowingly, with willful
blindness or with reckless disregard. BMG Rights Mgmt. (US) LLC y. Cox Commce’ns, Inc., 881
F.3d 293, 312—13 (4th Cir. 2018).

In determining whether a defendant had the right and ability to control infringing activity,
courts look to whether the defendant could and did take action against violations of its policies,
including those that are not related to infringement. See Arista Records, Inc. v. Usenet, 633 F.
Supp. 2d 124, 157 (8.D.N.Y. 2009) (the ability to block users for “any reason whatsoever” is
“evidence of the right and ability to supervise” infringing activities) (internal quotes omitted);
Arista Records, Inc. v. MP3Board, Inc., No. 00 CIV. 4660 (SHS), 2002 WL 1997918, at *11

(S.D.N.Y. Aug. 29, 2002) (same).

 
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In Arista Records, Inc. v. Usenet, the court held that Usenet (a file distribution service} had
the right and ability to control its users’ infringing activity, based on its actions against violations
of various other policies. 633 F.Supp.2d at 157. The Usene¢ court relied on the fact that the
defendant had the functionalities to limit questionable conduct—and actually did so by
“terminating or limiting access of subscribers who posted ‘spam’,” “restricting download speeds
for subscribers who downloaded what they considered a disproportionate volume of content,” and
“taking measures to restrict users from posting or downloading articles containing pornography[.]”
Id. at 157. This led the court to conclude that Usenet could have but “never used the same filtering
capabilities to search for, limit or eliminate infringement on their service[,]” despite their
“unfettered ability to control access” and “total dominion” over their service’s content. fd at 153,
157,

Similarly, in Arista Records, Inc. v. MP3Board, Inc., the court determined that the
MP3Board (a website operator) could have but failed to control infringing activity, based on the
its actions against its subscribers for other policy violations. 2002 WL 1997918, at *11. The court
noted that MP3Board “had stated a policy of restricting users from posting certain types of links,
such as those linking to pornography, hate, and hacker and ‘warez’ (illegally copied and distributed
commercial software) sites” and “did in fact remove offending links from the site and banned
repeat offenders of MP3Board’s rules from posting any additional links.” fd. From this, the court
concluded that MP3Board also “had the right and ability to remove links to infringing works and
bar the participation of users who transmitted those infringing files.” Jd. (citing A&M Records,
Ine. v. Napster, Inc., 239 F.3d 1004, 1024 (9th Cir. 2001)).

Both Usenet and MP3Board show that courts find a direct correlation between (i) a

defendant’s ability to control (and actual control of) its users’ violations of other terms or policies,

 
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and (ii) its right and ability to control its users’ infringing activities. Thus, if Cox regularly
terminated the accounts of subscribers engaged in spam, hacking, non-payment or other
misconduct as it had the right to pursuant to its terms, then it could have done the same for
subscribers it knew repeatedly infringed copyrights.

Cox’s termination of subscribers’ accounts for other AUP violations and non-payment is
also relevant to willfulness and would demonstrate to a jury the extent to which Cox turned a blind
eye to infringement. Beyond a few token subscribers, Cox did not terminate repeat infringers.
(See PX 1610 at 23-27.) By contrast, Cox claims that it took seriously other AUP violations that
it deemed harmful to its network, including spam and hacking. And Plaintiffs have no doubt that
Cox regularly terminated subscribers for non-payment of service. Cox’s Manager of Customer
Safety and Abuse Operations, Jason Zabek, drew a distinction between spam and hacking as
harmful to Cox’s network and customers, and copyright infringement that merely injures copyright

holders.

 

 
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(PX 5003 at 208:11-209:05, attached as Ex. D.)? In other words, when use violations damage
Cox’s network or customers, Cox took it seriously. But when it knew about hundreds of thousands
of instances of its subscribers stealing from Plaintiffs, it wagged its finger and issued fake
terminations. When considering Cox’s willfulness, a jury should be able to compare the number
of subscribers Cox terminated for copyright infringement against the number of subscribers it
terminated for other AUP violations and failure to pay for service.
CONCLUSION
For the reasons stated above, Plaintiffs respectfully request an order compelling Cox to

state the number of subscribers whose internet service it terminated each month from 2010 through
2014 for (i) violation of its Acceptable Use Policy, broken out by the provision of the Acceptable
Use Policy violated, and (ii} failure to pay for service. Given that Cox provided a month-by-month
chart of terminations for copyright infringement (PX 1610), Cox should be required to produce
the information requested here in the same monthly format for other terminations so a jury can
reasonably compare Cox’s approach to these different policy violations,

Respectfully Submitted,

Dated January 18, 2019 /s/ Scott A, Zebrak

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2 Plaintiffs dispute the confidentiality of PX 5003 but, like PX 1610, have sought to file it under seal because
Cox designated it as Confidential under the Stipulated Protective Order. PX 5003 is a copy of Mr. Zabek’s designated
trial testimony. It was played in open court by video, According to the trial transcript, Cox took no steps during the
proceeding to protect as confidential the information in his designated testimony.

 
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